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IN THE UNITED STATES BANKRUPTCY COURT
DISTRICT OF OREGON

In re:
Case No. l7-3l966-dwh13
EDWARD JAMES DUFFY
NOTICE OF OBJECTION TO
CONFIRMATION

Kevin O’Connell, P.C. an unsecured creditor, hereby serves its Notice of Objection to
Coni`lrmation of the debtor’s proposed Chapter 13 Plan. This Creditor filed a proof of claim on
or about June 27, 2017, indicating that the total amount of the claim at the time the case was filed
was $97,241.47. The Debtor’s proposed Plan provides such a limited monthly payment over 36
or 37 months to make recovery by this Creditor nominal at best.

The basis for the objection is the following:

l. Debtor had been negotiating with Parcus which has had a better than six year
positive relationship with Impact Medical, LLC. The Debtor is the sole owner of lmpact
Medical, LLC. Prior to the filing of the Chapter 13 proceeding, the Debtor believed that Parcus
was going to make a substantial capital investment in Impaet Medical, LLC.

2. The Debtor has made a very substantial personal investment in Impact Medical,

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LLC and since 2011 until it filed a Chapter 11 proceeding (later converted to a Chapter 7
proceeding.) Debtor purchased Impact Medical, LLC from the Bankruptcy _Trustee in that
proceeding in excess of $60,000.00. The Debtor has Worked diligently to build value in Impact
Medical, LLC over the last couple of years. There is no reason to believe that he will cease to
do this. The Chapter 13 Trustee should arrange to evaluate Impact Medical, LLC and determine

its fair market value.

3. The Bankruptcy Trustee can also determine if Parcus wishes to acquire Impact
Medical.
4. In any event, it would seem only fair to the Creditors of the Debtor that if he

continues either the business or the organization of Impact Medical, LLC and does obtain the
capital investment within the term of the Plan, that a significant portion of that infusion or
purchase price should benefit the Debtor’s Creditors.

WHEREFORE, this Creditor respectfully requests that the Court deny confirmation and
dismiss this case, or in an alternative, direct the Debtor to amend the Plan to take into account the

true value of Impact Medical, LLC or its business

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Dated this gay of June, 2017 M_ULQ_Q(D

Kevin O’Connell, OSB No. 660924
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Portland OR 97204

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Facsimile: (503) 227-3 870

E~mail: koconnell@hagenoconnell.com

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CERTIFICATE OF SERVICE

I hereby certify that l served the NOTICE OF OBJECTION TO
CONFIRMATION on the following:

Nicholas Hendersen, Attorney for
Edward J. Duffy
Motschenbacher & Blattner

117 SW Taylor, Suite 300
Portland, Oregon 97204

on this`; day of June, 2017, by:

X mailing to said individuals a complete and correct copy thereof, contained
in a sealed envelope, addressed as set forth above and deposited in the
United States mail at Portland, Oregon, with postage thereon prepaid, on
said day.

 

electronic mail, at the email address set forth above.

telephonic facsimile communication device, at the telephone number(s) set
forth above, which device was working at the time service was made.

HAGEN O’CONNELL LLP

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By; Wj

Kevi`n o’COnnell, osB No. 660924

 

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